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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



Civil Action No.: 1:18-cv-02453-RBJ

ROCK & RAIL LLC, a Colorado limited liability company
                  Plaintiff/Counterclaim Defendant,
v.

MOTHERLOVE HERBAL COMPANY, a Colorado corporation, INDIANHEAD WEST
HOMEOWNERS ASSOCIATION, INC., a Colorado nonprofit corporation, ROCKIN S
RANCH LLC, a Colorado limited liability company, JOHN CUMMINGS, an individual,
DAVID KISKER, an individual, GARY OPLINGER, an individual, WOLFGANG DIRKS, an
individual, and JAMES PIRAINO, an individual,
Defendants/Counterclaim Plaintiffs.

 [PROPOSED] ORDER RE: UNOPPOSED MOTION TO VACATE AND RESET TRIAL
                     PREPARATION CONFERENCE

            THIS MATTER comes before the Court on the Defendants’ Unopposed Motion to

Vacate and Reset Trial Preparation Conference and the Court having reviewed the same and being

fully advised in the premises, it is hereby

            ORDERED that the Motion is granted. The Trial Preparation Conference currently set

for July 22, 2020 is vacated. The parties shall contact Chambers to reset the Trial Preparation

Conference in this matter.

                                              BY THE COURT:



                                              Hon. R. Brooke Jackson




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